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5                                      UNITED STATES DISTRICT COURT

6                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

7
8    UNITED STATES OF AMERICA,                                  Case No. 1: 13-CR-00362-AWI-BAM
9                     Plaintiff,                                ORDER DENYING “TRUSTEE”
                                                                DESIGNATION
10            v.

11   GAYLENE LYNNETTE BOLANOS,
     ET Al.,
12
                      Defendants.
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                                                    /
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15
               Defendant, Gaylene Lynnette Bolanos, is proceeding pro se in this criminal action, and on January
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     9, 2015, filed a Notice of Specific Request/Instructions to All Trustees of Cestui Que Vie Trust
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     (CVQT) to Provide to Beneficiary All Audios, Transcript and Minute Orders at No Cost to
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     Beneficiary (Doc. 215). This Court previously approved Defendant’s request for transcripts on
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     December 17, 2014.
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              Defendant’s January 9, 2015 filing, again, refers to trust law and makes requests based upon a
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     “trust.” Trust law is legally inapplicable to this criminal proceeding. As Ms. Bolanos has been
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     repeatedly informed, no judge is a trustee for her. No prosecutor is a trustee for her. No court staff is
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     a trustee for her. Any request to create a trust, although unnecessary, is DENIED. The Court granted
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     her request for transcripts solely because of her statements to the Court that the transcripts
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     are necessary for her defense, even though the Court does not so agree. In the abundance of caution to
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     permit this pro se defendant to have materials she perceives are necessary, the Court has granted the
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     request for transcripts.
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5    IT IS SO ORDERED.

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         Dated:     January 15, 2015                         /s/ Barbara A. McAuliffe              _
7                                                      UNITED STATES MAGISTRATE JUDGE
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